         Case 1:03-md-01570-GBD-SN                                                           Document 9528-1                                                                         Filed 01/11/24                            Page 1 of 1

                                                                                                                        EXHIBIT A
                               Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., Case No. 03-cv-9849 (GBD)(SN)
                                                     Motion to Add Parties Against the Taliban




                                                                                 Name of Personal Representative (for
                                                                                   new 9/11 Decedent claims and
                                                                                    deceased solatium claimants)




                                                                                                                              Relationship to 9/11 decedent
                                               Additional Plaintiff Suffix




                                                                                                                                                                                   Country of citizenship




                                                                                                                                                                                                                                               9/11 Decedent Suffix
                                                                                                                                                               Domicile State
                                                                                                                                                                                                                         9/11
        Additional  Additional Additional                                                                                                                                                                       9/11                  9/11
                                                                                                                                                                                                                       Decedent
    #    Plaintiff   Plaintiff  Plaintiff                                                                                                                                                                    Decedent              Decedent
                                                                                                                                                                                                                        Middle
        First Name Middle Name Last Name                                                                                                                                                                    First Name             Last Name
                                                                                                                                                                                                                        Name




1       Joseph     T.           Afflitto     Jr.                                                                           Sibling                            NJ                                            Daniel    Thomas      Afflitto
2       Joseph     T.           Afflitto     Sr.                                                                           Parent                             NJ                                            Daniel    Thomas      Afflitto
                                                                                                                                                                                United
3       James      Lawrence     Hopper                                                                                     Child                              NY                States                      James     P.          Hopper
                                                                                                                                                                                United
4       Marianne   Halderman    Tangel                                       Daniel F. Tangel                              Sibling                            NY                States                      David                 Halderman
